 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 DISTRICT OF KANSAS
                                                                                                                      Check if this is an
 Case number (if known):                                     Chapter       11                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Knoll's, Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      8      –      1      1        1    6         4   3      8

4.   Debtor's address                  Principal place of business                                      Mailing address, if different from principal
                                                                                                        place of business

                                       1604 Grandview Drive East                                        1604 Grandview Drive East
                                       Number         Street                                            Number     Street


                                                                                                        P.O. Box



                                       Garden City                         KS       67846               Garden City                   KS      67846
                                       City                                State    ZIP Code            City                          State   ZIP Code


                                                                                                        Location of principal assets, if different
                                       Finney                                                           from principal place of business
                                       County



                                                                                                        Number     Street




                                                                                                        City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 19-10795                       Doc# 1       Filed 05/03/19             Page 1 of 102
Debtor Knoll's, Inc.                                                                    Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                            Case 19-10795              Doc# 1      Filed 05/03/19              Page 2 of 102
Debtor Knoll's, Inc.                                                                     Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor Robert and Patricia Knoll                              Relationship Shareholder
    affiliate of the debtor?
                                                  District Kansas                                             When
    List all cases. If more than 1,                                                                                         MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor Scott Knoll                                          Relationship Shareholder

                                                  District Kansas                                             When
                                                                                                                            MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
                             Case 19-10795           Doc# 1           Filed 05/03/19           Page 3 of 102
Debtor Knoll's, Inc.                                                                     Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 04/30/2019
                                                      MM / DD / YYYY

                                          X /s/ Robert Knoll                                        Robert Knoll
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ David Prelle Eron                                                  Date     04/30/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            David Prelle Eron
                                            Printed name
                                            Eron Law, P.A.
                                            Firm name
                                            229 E. William, Suite 100
                                            Number          Street



                                            Wichita                                                    KS                   67202
                                            City                                                       State                ZIP Code


                                            (316) 262-5500                                             david@eronlaw.net
                                            Contact phone                                              Email address
                                            23429                                                      KS
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
                            Case 19-10795             Doc# 1         Filed 05/03/19             Page 4 of 102
 Fill in this information to identify the case
 Debtor name          Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of
                                                                                                        account number
3.1.    Western State Bank, Business Checking
        account                                                    Checking account                     0    9    0     1                      $0.00
3.2.    Golden Plains checking account                             Checking account                     4    4    0     5                   $1,082.58
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $1,082.58


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                     Schedule A/B: Assets -- Real and Personal Property                                                       page 1
                               Case 19-10795    Doc# 1 Filed 05/03/19 Page 5 of 102
Debtor          Knoll's, Inc.                                                                 Case number (if known)
                Name

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
7.      Deposits, including security deposits and utility deposits

        Description, including name of holder of deposit

8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

        Description, including name of holder of prepayment

9.      Total of Part 2.
                                                                                                                                                   $0.00
        Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $19,408.42             –                 $0.00                  = .......................             $19,408.42
                              face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                    $0.00               –                 $0.00                  = .......................                   $0.00
                              face amount                         doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                             $19,408.42
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

            No. Go to Part 5.
            Yes. Fill in the information below.
                                                                                               Valuation method                    Current value of
                                                                                               used for current value              debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                  % of ownership:
15.1.      Stock in Garden City Co-op, Inc. (amount listed is
           "book value", not surrender or sale value).                          0.1%                                                         $93,432.19
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                             $93,432.19


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

            No. Go to Part 6.
            Yes. Fill in the information below.




Official Form 206A/B                      Schedule A/B: Assets -- Real and Personal Property                                                           page 2
                                Case 19-10795    Doc# 1 Filed 05/03/19 Page 6 of 102
Debtor       Knoll's, Inc.                                                          Case number (if known)
             Name

     General description                        Date of the     Net book value of    Valuation method             Current value of
                                                last physical   debtor's interest    used for current value       debtor's interest
                                                inventory       (Where available)
19. Raw materials                               MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                        Net book value of    Valuation method             Current value of
                                                                debtor's interest    used for current value       debtor's interest
                                                                (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

     See Exhibit 1 attached hereto. List includes
     vehicles. The pickup trucks are all titled in the
     name of Bob or Scott Knoll, but the ones listed
     under Knoll's Inc are claimed by the company as
     its personal property and are listed on its tax
     return depreciation schedules. Equipment
     owned by Bob and Scott Knoll is separately
     listed on Exhibit 1 as all of the equipment is
     collectively used in the farming operation. Some
     of that equipment may be titled in the name of
     the Debtor (e.g. the 2003 Freightliner) or may
     have been depreciated on Debtor's tax returns.
     The values listed are from the most recent
     financial statement provided to Western State
     Bank. Debtor does not represent that this value
     is the actual fair market value or liquidation
     value. Some of the items may have appraisals
     available.                                                                                                         $1,264,400.00




Official Form 206A/B                   Schedule A/B: Assets -- Real and Personal Property                                             page 3
                             Case 19-10795    Doc# 1 Filed 05/03/19 Page 7 of 102
Debtor       Knoll's, Inc.                                                              Case number (if known)
             Name

     Grain bins, located on the SW 1/4 of Section 34,
     Township 23, Range 35, Kearny County, Kansas.
     Debtor's most recent financial report reflects
     the bins with a value of $700,000. However, the
     real estate is owned by Bob and Scott Knoll. The
     value of the bins has been inlcuded in the real
     estate value listed in the chapter 11 cases filed
     by the shareholders.                                                                                                    Unknown
31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                        $1,264,400.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                  $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                   Schedule A/B: Assets -- Real and Personal Property                                             page 4
                             Case 19-10795    Doc# 1 Filed 05/03/19 Page 8 of 102
Debtor        Knoll's, Inc.                                                              Case number (if known)
              Name


 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
      Include year, make, model, and identification numbers        debtor's interest      used for current value          debtor's interest
      (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 1976 International Semi. See also Exhibit 1.
       Values are listed in response to question no. 30.                                                                               $500.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                       $500.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                    Schedule A/B: Assets -- Real and Personal Property                                                    page 5
                              Case 19-10795    Doc# 1 Filed 05/03/19 Page 9 of 102
Debtor       Knoll's, Inc.                                                               Case number (if known)
             Name


Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

     General description                                           Net book value of       Valuation method         Current value of
                                                                   debtor's interest       used for current value   debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                    $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)




Official Form 206A/B                   Schedule A/B: Assets -- Real and Personal Property                                               page 6
                             Case 19-10795   Doc# 1 Filed 05/03/19 Page 10 of 102
Debtor           Knoll's, Inc.                                                                                       Case number (if known)
                 Name

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                                                     $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $1,082.58
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                               $19,408.42

83. Investments. Copy line 17, Part 4.                                                       $93,432.19

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                 $1,264,400.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                          $500.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.         $1,378,823.19            +     91b.                  $0.00



                                                                                                                                                                $1,378,823.19
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                          Schedule A/B: Assets -- Real and Personal Property                                                                      page 7
                                    Case 19-10795   Doc# 1 Filed 05/03/19 Page 11 of 102
                                                               EXHIBIT 1

EQUIPMENT SCHEDULE
KNOLLS INC.
 Farm machineary Including But Not Limited To:
 Roll-a-cone 21 '3" Bar wlsheeld, shanks, etc (fert. app.)                   1,50000
 Wylie 1800 gal pull behind trailer                                         10,000.00
 Krause Cultivator                                                           8,000.00
6000 gallon pac horse trailer                                                4,000.00
 1967 Big 12 Culti-packer 3 point                                              500.00
Case Borger Machine                                                            500.00
 1970 Reynolds 14x45 Landplane                                               2,000.00
900 Gal Diesel Trailer                                                      10,000.00
Cummings Irr Engine                                                         18,000.00
 1500 Gal Poly Tank                                                            100.00
2 Diesel Tanks 200 Gal. Each wlpumps                                         1,000.00
Propane Tank 500 Gal.                                                          500.00
Lilliston 12 row Tillager Model #6400 SN 1115923                             5,000.00
2500 Gal. Fuel Tanks WIPump                                                  1,000.00
Cisco Toolbar w/attachments                                                  1,000.00
Bison Blade                                                                  4,000.00
3 454 Chevy Irrigation Engines SN 5684/5638/5671                             7,500.00
2 454 Chevy Irrigation Engines                                               5,000.00
Gated Pipe, 30 Joints                                                        1,800.00
4454 Chevy Irrigation Engines SN 77141762517620/5660                        10,000.00
CASEIH 4412 Cornhead                                                        85,000.00
Flat Trailer                                                                 1,200.00
10000 Diesel Tank                                                            5,000.00
2014 F250 Diesel Pickup                                                     40,000.00
40' tool bar                                                                 6,000.00
10,000 Gal. Diesel Tank & Pump                                               4,800.00
97 Chevy 1500 1/2 ton                                                        5,000.00
elec motor & frec drive                                                     16,000.00
Oteco sand cart                                                             10,000.00
45' Wabash Dropdeck Trailer                                                 12,000.00
I.H. Truck year 2000                                                        15,000.00
496 Chevy                                                                    5,000.00
1200 gallon water trailer                                                    9,000.00
454 Chevy Irrigation Engine                                                  4,000:00
Case draper head 35ft                                                       65,000.00
Case turbo disc 32ft                                                        40,000.00
Caseih 1255 24 Row Planter                                                 154,000.00

Krause Grain Drill 20'                                                       4,000.00
T&L Sprinkler 2260' - Valley Conversion - underslung                       56,000.00
T&L Sprinkler 1250' - underslung Reinke converson                          3:ilqQo,;R~:! These were forrnarly
T&L Sprinkler 1250' - underslung                                           aR;Qoo.Q9iiii grouped together at $91000.00
T&L Sprinkler 1250' - underslung                                       ······.·aiQ'QPO.OQ)i~
Reinke Sprinkler 1250' - underslung                                       40,000.00
Valley sprinkler - 1640' - underslung                                     40,000:00
Valley sprinkler - 1290' - Poly lined                                     60,000.00
Valley sprinkler 8000 1995 - 1300' - underslung                           40,000.00
Valley sprinkler 1300' - Poly lined                                       60,000.00
Valley sprinkler 1300' - Poly lined                                       60,000.00
Reinke sprinkler 1300' - Aluminium                                        60,000.00
2015 CASEIH 310                                                           65,000.00
2010 JOHN DEERE 8345RT                                                   120,000.00
                                                                       1,264,400.00




                 Case 19-10795              Doc# 1           Filed 05/03/19        Page 12 of 102
     EQUIPMENT SCHEDULE
     Scott Knoll
     Farm machineary Including But Not Limited To:
 26 2014 Crustbuster Drill (50%)                                            45,000.00
     1982 MW 165 Rotart Hoe 30'                                               2,000.00
     1979 Rupp Land Scraper 18'                                               1,500.00
    496 Irr. Motor                                                           5,000.00
 42 Sunflower striptill12row(50%)                                           20,000.00
     1972 IHC 1700 Truck 18' bed & hoist SN 106720H240698                    3,000.00
     2 200 gal. saddle mount tankes                                             500.00
    20' tool bar w/attachments                                                  750.00
    2000' gated pipe 10" alum. & plastic                                     1,500.00
    2 pipe trailers                                                             500.00
    20' Culti-packer                                                            500.00
    2010 Dodge Diesel pickup                                                20,000.00
    Miscellaneous tool                                                       1,000.00
29 Landoll disc (50%)                                                       20,000.00
    2012 Ford F250                                                          20,000.00
25 Case IH 130 tractor (50%)                                                40,000.00
37 2015 CaselH Combine 8240                                                100,000.00
272012 Brent Grain Cart (50%)                                               25,000.00
302013 Orthman 1tripper (50%)                                               20,000.00
48 Degelman Harrow 30' (50%)                                                    500.00
    Motorola Radios                                                          2,000.00
    Chevy 350 Engine                                                         2,500.00
31 30' Cultipacker (50%)                                                       750.00
32 Oil Vac (50%)                                                             2,500.00
33 Bulk Seed Tender (50%)                                                    3,000.00
34 Road Grader (50%)                                                         3,500.00
35 Sand Trailer (50%)                                                        5,500.00
    1993 Freightliner                                                        5,000.00
36 496 Chevy Irrigation Motor (50%)                                          3,000.00
38 MacDon D50 35 ft Draper Head (50%)                                       17,500.00
394045 D JD Diedellrr. Engine (50%)                                          2,000.00
40 5.9 L Turbo Cummings Irr. Engine (50%)                                    2,500.00
43 Sunflower 32ft soilfinisher (50%)                                         8,000.00
    Cummins Irrigation Engine                                               18,000.00
    08 Freightliner Truck (100%)                                            30,000.00
41 Duo-Lift 1600 gal. Trailer (50%)                                          3,500.00
    2003 Frtl. Columbia Truck                                               ~5,000.00
    Cummins Irrigation Engine                                               18,000.00
    8.0 Liter Origin Motor(100%)                                             8,000.00
    855 Cummings Irrigation Motor(100%)                                     10,000.00
452017 Loftness Grain Bag (50%)                                             15,000.00
462017 Flexstar Debagger (50%)                                              25,000.00
47 2014 CIH Corn head 4412 (50%)                                            26,000.00
44 Summers Roller 45' (1/2 int)                                             15,000.00
28 Kinze grain cart 1050 2009 (1/2 int)                                     20,000.00
  1 Valley 8000 Sprinkl€,r (50%)Sec 28-3 Rixon 1300' Poly Lined             37,500.00
 2 Valley 8000 Sprinklor (50%) underslung                                   20,000.00
  3 Reinke Sprinkler (50%) Sec 25-3 Unrein/Esfeld 1300' Aluminium           30,000.00
 4 Valley 6000 Sprinkler (50%)Sec 28-2 Rixon 1300' underslung               20,000.00
 5 Reinke Sprinkler (50%)Sec 5-1 GATW 2600' Aluminium                       60,000.00
 6
 7 Reinke Sprinkler (50%)Sec 29-2 Scott Knoll 1300' underslung              20,000.00




       Case 19-10795          Doc# 1      Filed 05/03/19         Page 13 of 102
 8 Valley Sprinkler (50%)Sec 28-2 Rixons 1300' underslung                 20,000.00
 9 Valley Sprinkler (50%)Sec 6-1 Bird 1300' underslung                    20,000.00
10 Zimmatic sprinkler(50%)Sec 32-2 GC Company 2600' underslung            55,000.00
11 Zimmatic sprinkler(50%)Sec 31-1 GC Company2600' underslung             55,000.00
12 1993 Valley 6000 sprinler 10 tower SN 66097(50%)Sec 25-1 Esfeld ur     35,000.00
13 Valley 6000 Sprinkler (50%)Sec 18-1 Bob Knoll 1300' underslung         15,000.00
14 Valley sprinkler 7000(50%)Sec 29 ScottKnoll1300' Poly Lined            30,000.00
15 Valley Sprinkler(100%)Sec 34-1 Bob/Scott Knoll 1300' Poly Lined        70,000.00
16 Valley 8000 Sprinkler(50%)Sec 28 GC Company 2600' Poly Lined           50,000.00
17 Valley 8000 Sprinkler (50%) Sec 28-5 Rixon 1300' underslung            25,000.00
18 Reinke Sprinkler (50%)Sec 33-1 GC Company 1300' underslung             22,500.00
19 Zimmatic Sprinkler(100%)Sec 33-5 GC Company 1300' underslung           37,000.00
20 Zimmatic sprinkler(W%)sec 28-4 Rixon 1300' underslung                  15,000.00


                                                                        1,225,000.00




      Case 19-10795         Doc# 1      Filed 05/03/19       Page 14 of 102
     EQUIPMENT SCHEDULE
     Robert Knoll
     Farm machineary Including But Not Limited To:
     1974 Eversman Hyd. Ditcher                                                  500.00
     2500' Gated Irrigation Pipe 10" w/30" spacings                            3,000.00
     John Deere 544 E loader                                                 50,000.00
     350 Chevy Irrigation. Engine                                             2,100.00
     Bush Hog Mower                                                            9,000.00
 25 CaselH 130 tractor 1/2 int                                               40,000.00
    454 Chevy Irrigation Engine                                               3,200.00
    Buffalo Cultivator 12 row                                                 5,000.00
 26 Crustbuster 45ft grain drill (1/2 int)                                   45,000.00
    Tire Changer                                                              1,500.00
    Sunflower Chisel 30'                                                      5,000.00
27 Brent Grain Cart 2012(1/2 int.)                                           25,000.00
28 Kinze grain cart 10502009 (1/2 int)                                       20,000.00
48 Deselman Harrow 30' (1/2 int.)                                                500.00
29 Landoll7431 33ft disc 1/2 int                                            20,000.00
    Motorola Radios                                                           2,000.00
    Chevy 350 Engine                                                          1,600.00
    2016 F250 Ford pickup                                                   43,000.00
30 Orthman 12 row striptill (1/2 int)                                       20,000.00
31 30' Culti Packer (1/2 int.)                                                  750.00
32 Oil Vac (1/2 int.)                                                         2,500.00
33 Bulk Seed Tender (1/2 int.)                                                3,000.00
34 Road Grader (1/2 int.)                                                     3,500.00
35 Sand Trailer (1/2 int.)                                                    5,500.00
    Timte grain trailer                                                     26,000.00
36 496 Chevy Irrigation Engine (1/2 int.)                                     3,000.00
37 2013 Case combine 8230                                                  100,000.00
38 Macdon D50 35ft draper head                                              17,000.00
    2003 Frt truck                                                          17,000.00
    855 cummings                                                            10,000.00
39 4045 D. J.D. Diesei Irrigation Engine (1/2 int.)                           2,000.00
40 5.9 L Turbo Cummings Irrigation Engine (1/2 int.)                          2,500.00
     496 chevy                                                                8,500.00
41 Duo-Lift 1600 gal. T'railer (1/2 int.)                                     3,500.00
42 Sunflower striptill 12 row                                               20,000.00
43 Sunflower soil finisher (1/2) int                                          8,000.00
     Cummings irr motor                                                     10,000.00
    Cummings Irr motor                                                      18,000.00
    Cummings Irr motor                                                      15,000.00
44 Summers Roller 45' (1/2 int)                                             15,000.00
452017 Loftness Grain Bag (50%)                                             15,000.00
462017 Flexstar Debagger (50%)                                              25,000.00
47 2014 CIH Corn head 4412 (50%)                                            26,000.00
  1 Valley 8000 Sprinkler (50%)Sec 28-3 Rixon 1300' Poly Lined              37,500.00
 2 Valley 8000 Sprinkler (50%) underslung                                   20,000.00
 3 Reinke Sprinkler (50%) Sec 25-3 Unrein/Esfeld 1300' Aluminium            30,000.00
 4 Valley 6000 Sprinkler (50%)Sec 28-2 Rixon 1300' underslung               20,000.00
 5 Reinke Sprinkler (50%)Sec 5-1 GATW 2600' Aluminium                       60,000.00
 6
 7 Reinke Sprinkler (50%)Sec 29-2 Scott Knoll 1300' underslung              20,000.00
 8
 9 Valley Sprinkler (50%)Sec 6-1 Bird 1300' underslung                      20,000.00




       Case 19-10795          Doc# 1      Filed 05/03/19         Page 15 of 102
10 Zimmatic sprinkler(50%)Sec 32-2 GC Company 2600' underslung            55,000.00
11 Zimmatic sprinkler(50%)Sec 31-1 GC Company2600' underslung             55,000.00
12 1993 Valley 6000 sprinler 10 tower SN 66097(50%)Sec 25-1 Esfeld ur     35,000.00
13 Valley 6000 Sprinkler (50%)Sec 18-1 Bob Knoll 1300' underslung         15,000.00
14 Valley sprinkler 7000(50%)Sec 29 ScotlKnoll1300' Poly Lined            30,000.00
16 Valley 8000 Sprinkler(50%)Sec 28 GC Company 2600' Poly Lined           50,000.00
17 Valley 8000 Sprinkler (50%) Sec 28-5 Rixon 1300' underslung            25,000.00
18 Reinke Sprinkler (50%)Sec 33-1 GC Company 1300' underslung             22,500.00
20 Zimmatic sprinkler(50%)sec 28-4 Rixon 1300' underslung                 15,000.00
21 Valley 8000 sprinkler (100%) Poly Lined                                72,000.00
22 Zimmatic Sprinkler (100%) underslung                                   37,000.00



                                                                        1,272,150.00




      Case 19-10795         Doc# 1      Filed 05/03/19       Page 16 of 102
 Fill in this information to identify the case:
 Debtor name          Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more             Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                 Amount of claim        Value of collateral
                                                                                                            Do not deduct the      that supports
                                                                                                            value of collateral.   this claim

 2.1      Creditor's name                                   Describe debtor's property that is
          CNH Industrial Capital                            subject to a lien                                    $549,876.61              $692,000.00

          Creditor's mailing address                        See Exhibit 1 attached hereto. List
          PO Box 3600                                       includes vehi
                                                            Describe the lien
                                                            PMSI Loans / Agreement
          Lancaster                  PA   17604             Is the creditor an insider or related party?
                                                                 No
          Creditor's email address, if known
                                                                 Yes

          Date debt was incurred                            Is anyone else liable on this claim?
                                                                No
          Last 4 digits of account
          number                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

          Do multiple creditors have an interest in         As of the petition filing date, the claim is:
          the same property?                                Check all that apply.
              No                                                Contingent
              Yes. Specify each creditor, including this        Unliquidated
              creditor, and its relative priority.              Disputed

          9 different equipment loans




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                               $6,468,975.58


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
                             Case 19-10795                 Doc# 1       Filed 05/03/19           Page 17 of 102
Debtor       Knoll's, Inc.                                                                    Case number (if known)

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.2     Creditor's name                                      Describe debtor's property that is
         John Deere Financial                                 subject to a lien                                    $122,593.26             $185,000.00

         Creditor's mailing address                           7431 Disk, 1194 Brent Cart, 8345 JD
         6400 NW 86th St                                      Tractor
                                                              Describe the lien
                                                              PMSI Loans / Agreement

         Johnston                   IA       50131            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         (collateral value includes co-debtor assets)

 2.3     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $877,662.11           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement
         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    7      4   0
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         Farm Operating Loan (collateral value includes co-debtor assets)




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2
                             Case 19-10795                   Doc# 1       Filed 05/03/19           Page 18 of 102
Debtor       Knoll's, Inc.                                                                    Case number (if known)

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.4     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                 $2,241,209.78            $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement

         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    7      4   7
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         Farm Loan Refi (collateral value includes co-debtor assets)

 2.5     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $256,995.34           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement
         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    7      5   0
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         Operating LOC carryover (collateral value includes co-debtor assets)




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3
                             Case 19-10795                   Doc# 1       Filed 05/03/19           Page 19 of 102
Debtor       Knoll's, Inc.                                                                    Case number (if known)

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.6     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $836,350.02           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement

         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    8      4   0
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         Farm operating LOC (collateral value includes co-debtor assets)

 2.7     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $391,359.35           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement
         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    8      5   2
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         (collateral value includes co-debtor assets)




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4
                             Case 19-10795                   Doc# 1       Filed 05/03/19           Page 20 of 102
Debtor       Knoll's, Inc.                                                                    Case number (if known)

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.8     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $173,928.84           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement

         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    8      5   5
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         2016 Carryover loan (collateral value includes co-debtor assets)

 2.9     Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $200,859.35           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement
         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    8      5   6
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         Carryover loan (collateral value includes co-debtor assets)




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5
                             Case 19-10795                   Doc# 1       Filed 05/03/19           Page 21 of 102
Debtor       Knoll's, Inc.                                                                    Case number (if known)

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.10    Creditor's name                                      Describe debtor's property that is
         The Western State Bank                               subject to a lien                                    $818,140.92           $5,800,000.00

         Creditor's mailing address                           All business assets (incl. co-debtor
         1500 E Kansas Avenue                                 assets)
                                                              Describe the lien
                                                              Loan / Agreement

         Garden City                KS       67846            Is the creditor an insider or related party?
                                                                   No
         Creditor's email address, if known
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
                                                                  No
         Last 4 digits of account
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         0    9      4   0
         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         2017 Farm Loan (collateral value includes co-debtor assets)




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6
                             Case 19-10795                   Doc# 1       Filed 05/03/19           Page 22 of 102
Debtor       Knoll's, Inc.                                                             Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         CNH Capital America LLC                                                       Line    2.1
         100 Brubaker Avenue




         New Holland                                  PA       17557


         Deere & Company                                                               Line    2.2
         6400 NW 86th St
         PO Box 6600
         Johnston, IA 501316630



         Deere Credit Inc                                                              Line    2.2
         6400 NW 86th St
         PO Box 6600
         Johnston, IA 501316630



         Wesley Smith                                                                  Line    2.2
         900 Massachusetts St.



         Lawrence                                     KS       66044


         Western State Bank                                                            Line    2.10
         PO Box 1198



         Garden City                                  KS       67846




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 7
                             Case 19-10795           Doc# 1         Filed 05/03/19            Page 23 of 102
 Fill in this information to identify the case:
 Debtor              Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F         Case 19-10795
                                       ScheduleDoc#    1 Filed
                                                E/F: Creditors     05/03/19
                                                               Who Have UnsecuredPage
                                                                                  Claims 24 of 102                                        page 1
Debtor        Knoll's, Inc.                                                            Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $9,725.20
                                                                   Check all that apply.
Alliance Irrigation                                                    Contingent
Box 1906                                                               Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Garden City                              KS      67846             Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,602.68
                                                                   Check all that apply.
Bumper to Bumper                                                       Contingent
2417 Jones Ave                                                         Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Garden City                              KS      67846             Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $15,072.45
                                                                   Check all that apply.
Circle 120 Chemical                                                    Contingent
400 W Santa Fe Trail Blvd                                              Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Lakin                                    KS      67860             Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $8,818.38
                                                                   Check all that apply.
Farmers Edge                                                           Contingent
2901 South Loop Dr Suite 335                                           Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Ames                                     IA      50010             Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F          Case 19-10795
                                        ScheduleDoc#    1 Filed
                                                 E/F: Creditors     05/03/19
                                                                Who Have UnsecuredPage
                                                                                   Claims 25 of 102                                     page 2
Debtor      Knoll's, Inc.                                                  Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                 Total of claim amounts

5a. Total claims from Part 1                                                           5a.                       $0.00

5b. Total claims from Part 2                                                           5b.   +             $35,218.71


5c. Total of Parts 1 and 2                                                             5c.                 $35,218.71
    Lines 5a + 5b = 5c.




Official Form 206E/F        Case 19-10795
                                      ScheduleDoc#    1 Filed
                                               E/F: Creditors     05/03/19
                                                              Who Have UnsecuredPage
                                                                                 Claims 26 of 102                         page 3
 Fill in this information to identify the case:
 Debtor name         Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                  Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Crop Land Rental                                Barbara A Van Doren Trust
          or lease is for and the       Contract to be ASSUMED                          2212 El Molino Ave
          nature of the debtor's
          interest                                                                      Unit M136

          State the term remaining
          List the contract
                                                                                       Alta Dena                           CA            91001
          number of any
          government contract

2.2       State what the contract       2014 Case IH 380 Tractor                        CNH Industrial Capital
          or lease is for and the       Contract to be ASSUMED                          PO Box 3600
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Lancaster                           PA            17604
          number of any
          government contract

2.3       State what the contract       2017 JD 4038 Sprayer                            Deere Credit Inc
          or lease is for and the       Contract to be ASSUMED                          6400 NW 86th St
          nature of the debtor's
          interest                                                                      PO Box 6600
                                                                                        Johnston, IA 501316630
          State the term remaining
          List the contract
          number of any
          government contract

2.4       State what the contract       Crop Land Rental                                Max and Faye Van Doren Trust
          or lease is for and the       Contract to be ASSUMED                          2212 El Molino Ave
          nature of the debtor's
          interest                                                                      Unit M136

          State the term remaining
          List the contract
          number of any
                                                                                       Alta Dena                           CA            91001
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                            Case 19-10795              Doc# 1        Filed 05/03/19           Page 27 of 102
 Fill in this information to identify the case:
 Debtor name         Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Robert Knoll                    1604 Grandview Drive East                              CNH Industrial Capital                D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Garden City                    KS      67846
                                       City                           State   ZIP Code


2.2    Robert Knoll                    1604 Grandview Drive East                              John Deere Financial                  D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Garden City                    KS      67846
                                       City                           State   ZIP Code


2.3    Robert Knoll                    1604 Grandview Drive East                              The Western State Bank                D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Garden City                    KS      67846
                                       City                           State   ZIP Code


2.4    Robert Knoll                    1604 Grandview Drive East                              The Western State Bank                D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Garden City                    KS      67846
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                            Case 19-10795              Doc# 1         Filed 05/03/19           Page 28 of 102
Debtor       Knoll's, Inc.                                                         Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.5   Robert Knoll                  1604 Grandview Drive East                         The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Garden City                 KS      67846
                                    City                        State   ZIP Code


2.6   Robert Knoll                  1604 Grandview Drive East                         The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Garden City                 KS      67846
                                    City                        State   ZIP Code


2.7   Robert Knoll                  1604 Grandview Drive East                         The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Garden City                 KS      67846
                                    City                        State   ZIP Code


2.8   Robert Knoll                  1604 Grandview Drive East                         The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Garden City                 KS      67846
                                    City                        State   ZIP Code


2.9   Robert Knoll                  1604 Grandview Drive East                         The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Garden City                 KS      67846
                                    City                        State   ZIP Code


2.10 Robert Knoll                   1604 Grandview Drive East                         The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Garden City                 KS      67846
                                    City                        State   ZIP Code


2.11 Scott Knoll                    PO Box 310                                        CNH Industrial Capital              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
                             Case 19-10795         Doc# 1       Filed 05/03/19         Page 29 of 102
Debtor       Knoll's, Inc.                                                         Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.12 Scott Knoll                    PO Box 310                                        John Deere Financial                D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.13 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.14 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.15 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.16 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.17 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.18 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 3
                             Case 19-10795         Doc# 1       Filed 05/03/19         Page 30 of 102
Debtor       Knoll's, Inc.                                                         Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.19 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code


2.20 Scott Knoll                    PO Box 310                                        The Western State Bank              D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Holcomb                     KS      67851
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 4
                             Case 19-10795         Doc# 1       Filed 05/03/19         Page 31 of 102
 Fill in this information to identify the case:


 Debtor Name Knoll's, Inc.

 United States Bankruptcy Court for the:                   DISTRICT OF KANSAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                $1,378,823.19
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $1,378,823.19
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $6,468,975.58
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F........................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +              $35,218.71
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.............................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $6,504,194.29




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                                     Case 19-10795                         Doc# 1              Filed 05/03/19                     Page 32 of 102
 Fill in this information to identify the case and this filing:
 Debtor Name         Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 04/30/2019                       X /s/ Robert Knoll
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Robert Knoll
                                                             Printed name
                                                             President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
                            Case 19-10795             Doc# 1         Filed 05/03/19               Page 33 of 102
 Fill in this information to identify the case:
 Debtor name        Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                            Gross revenue
which may be a calendar year                                                    Check all that apply.                         (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                           Operating a business
                                  From    01/01/2019      to   Filing date
fiscal year to filing date:                                                         Other                                             $558,560.35
                                         MM / DD / YYYY

                                                                                    Operating a business
For prior year:                   From    01/01/2018      to    12/31/2018
                                         MM / DD / YYYY        MM / DD / YYYY       Other                                        $2,571,939.00

                                                                                    Operating a business
For the year before that:         From    01/01/2017      to    12/31/2017
                                         MM / DD / YYYY        MM / DD / YYYY       Other                                        $1,511,735.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                              Dates            Total amount or value      Reasons for payment or transfer
                                                                                                           Check all that apply
3.1. See check register
                                                                                                              Secured debt
      Creditor's name
                                                                                                              Unsecured loan repayments
      Street                                                                                                  Suppliers or vendors
                                                                                                              Services
                                                                                                              Other
      City                             State   ZIP Code




Official Form 207
                              Case Statement
                                   19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                    Doc# 1 Filed 05/03/19 Page 34 of 102                                                   page 1
Debtor         Knoll's, Inc.                                                                 Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. See check register and transfer list
      Insider's name

      Street




      City                              State    ZIP Code

      Relationship to debtor



5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None




Official Form 207
                               Case Statement
                                    19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                     Doc# 1 Filed 05/03/19 Page 35 of 102                                                          page 2
Debtor          Knoll's, Inc.                                                             Case number (if known)
                Name


 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

Description of the property lost and how           Amount of payments received for the loss                     Date of loss     Value of
the loss occurred                                  If you have received payments to cover the loss, for                          property lost
                                                   example, from insurance, government compensation, or
                                                   tort liability, list the total received.
                                                   List unpaid claims on Official Form 206A/B (Schedule A/B:
                                                   Assets -- Real and Personal Property).
1255 Case IH planter was damaged on                $8,000.00                                                    July 2018            $8,000.00
the road. Insurance funds used to
repair the damage

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property            Dates               Total amount
                                                               transferred                                                        or value
 11.1. Eron Law Office, P.A.                                                                                  04/16/2019             $20,000.00

         Address

         229 E. William, Suite 100
         Street


         Wichita                       KS      67202
         City                          State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?




Official Form 207
                                Case Statement
                                     19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                      Doc# 1 Filed 05/03/19 Page 36 of 102                                                   page 3
Debtor          Knoll's, Inc.                                                              Case number (if known)
                Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. See check register

         Address


         Street




         City                          State   ZIP Code

         Relationship to debtor



         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.2. Garden City Farm Equipment                              Precision Planter add on equipment               6-30-17                $41,021.30
                                                               (purchased)
         Address

         2506 West Jones Avenue
         Street


         Garden City                   KS      67846
         City                          State   ZIP Code

         Relationship to debtor
         None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.3. Garden City Farm Equipment                              2015 Case IH 8240 Combine                        8-30-18               $194,000.00
                                                               (purchased)
         Address


         Street




         City                          State   ZIP Code

         Relationship to debtor
         None



Official Form 207
                                Case Statement
                                     19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
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Debtor          Knoll's, Inc.                                                           Case number (if known)
                Name

         Who received transfer?                              Description of property transferred            Date transfer     Total amount
                                                             or payments received or debts paid             was made          or value
                                                             in exchange

 13.4. Garden City Farm Equipment                            Case IH 8230 Combine and Macdon                6-30-17                $193,000.00
                                                             Head (puchased)
         Address

         2506 West Jones Avenue
         Street


         Garden City                   KS      67846
         City                          State   ZIP Code

         Relationship to debtor
         None

         Who received transfer?                              Description of property transferred            Date transfer     Total amount
                                                             or payments received or debts paid             was made          or value
                                                             in exchange

 13.5. Garden City Farm Equipment                            Case IH Magnum 310 Tractor                     3-21-18                $87,000.00
                                                             (purchased); traded in Great Plains
         Address                                             Planter for $20,000
         2506 West Jones Avenue
         Street


         Garden City                   KS      67846
         City                          State   ZIP Code

         Relationship to debtor
         None

         Who received transfer?                              Description of property transferred            Date transfer     Total amount
                                                             or payments received or debts paid             was made          or value
                                                             in exchange

 13.6. American Implements                                   JD 8345R tractor (purchased)                   3-28-18                $156,645.00

         Address

         2611 West Jones Ave
         Street


         Garden City                   KS      67846
         City                          State   ZIP Code

         Relationship to debtor
         None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply




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Debtor        Knoll's, Inc.                                                              Case number (if known)
              Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None




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Debtor       Knoll's, Inc.                                                                  Case number (if known)
             Name

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None




Official Form 207
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                                  19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
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Debtor        Knoll's, Inc.                                                                  Case number (if known)
              Name

26. Books, records, and financial statements

    26a.     List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

    26b.     List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                 None

    26c.     List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                 None

                Name and address                                                                  If any books of account and records are
                                                                                                  unavailable, explain why
         26c.1. Jeffrey A Clarke
                Name
                Keller & Miller
                Street
                401 Campus Drive
                Garden City                                    KS          67846
                City                                           State       ZIP Code

    26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
             financial statement within 2 years before filing this case.

                 None

                Name and address

      26d.1. The Western State Bank
                Name
                1500 E877662.11 Kansas Avenue
                Street


                Garden City                                    KS          67846
                City                                           State       ZIP Code

                Name and address

      26d.2. Ag Resource Management
                Name

                Street


                Garden City                                    KS
                City                                           State       ZIP Code

                Name and address

      26d.3. Latham Funding
                Name

                Street


                New York                                       NY
                City                                           State       ZIP Code




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                                   19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
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Debtor          Knoll's, Inc.                                                             Case number (if known)
                Name

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                        Address                                  Position and nature of any interest       % of interest, if any

Scott Knoll                                 PO Box 310                               Vice President / Shareholder                       50%
                                            Holcomb , KS 67851
Robert Knoll                                1604 Grandview Drive East                President / Shareholder                            50%
                                            Garden City, KS 67846
Patricia Knoll                              1604 Grandview Drive East                Secretary Treasurer / Officer                       0%
                                            Garden City, KS
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                        Address                                  Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.1. See check register and transfer list
         Name

         Street




         City                      State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.




Official Form 207
                                Case Statement
                                     19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
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Debtor        Knoll's, Inc.                                                              Case number (if known)
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 04/30/2019
            MM / DD / YYYY
X /s/ Robert Knoll                                                           Printed name Robert Knoll
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207
                              Case Statement
                                   19-10795  of Financial Affairs for Non-Individuals Filing for Bankruptcy
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF KANSAS
                                                                   WICHITA DIVISION
In re Knoll's, Inc.                                                                                                                 Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $20,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $20,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   The amount listed above is the retainer amount only. A portion of these funds were spent at or prior to filing on the
   attorney fees and court filing fees. Fees are billed at $300/hr. and are governed exclusively by the retainer
   agreement, which is available upon request by the UST, trustee, or the court. Fee applications will be filed for all
   fees incurred during the case.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                   04/30/2019                        /s/ David Prelle Eron
                      Date                           David Prelle Eron                          Bar No. 23429
                                                     Eron Law, P.A.
                                                     229 E. William, Suite 100
                                                     Wichita, KS 67202
                                                     Phone: (316) 262-5500 / Fax: (316) 262-5559




    /s/ Robert Knoll
  Robert Knoll
  President




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 Fill in this information to identify the case:
 Debtor name        Knoll's, Inc.

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Circle 120 Chemical                                Business Goods or                                                          $15,072.45
    400 W Santa Fe Trail                               Services
    Blvd
    Lakin KS 67860



2   Alliance Irrigation                                Business Goods or                                                           $9,725.20
    Box 1906                                           Services
    Garden City KS 67846




3   Farmers Edge                                       Business Goods or                                                           $8,818.38
    2901 South Loop Dr                                 Services
    Suite 335
    Ames IA 50010



4   Bumper to Bumper                                   Business Goods or                                                           $1,602.68
    2417 Jones Ave                                     Services
    Garden City KS 67846




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF KANSAS
                                               WICHITA DIVISION
  IN RE:   Knoll's, Inc.                                                            CASE NO

                                                                                   CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/30/2019                                           Signature    /s/ Robert Knoll
                                                                     Robert Knoll
                                                                     President


Date                                                     Signature




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 Debtor(s): Knoll's, Inc.                   Case No:                                         DISTRICT OF KANSAS
                                             Chapter: 11                                         WICHITA DIVISION


Alliance Irrigation                     Max and Faye Van Doren Trust
Box 1906                                2212 El Molino Ave
Garden City KS 67846                    Unit M136
                                        Alta Dena CA 91001


Barbara A Van Doren Trust               Robert Knoll
2212 El Molino Ave                      1604 Grandview Drive East
Unit M136                               Garden City KS 67846
Alta Dena CA 91001


Bumper to Bumper                        Scott Knoll
2417 Jones Ave                          PO Box 310
Garden City KS 67846                    Holcomb KS 67851



Circle 120 Chemical                     The Western State Bank
400 W Santa Fe Trail Blvd               1500 E Kansas Avenue
Lakin KS 67860                          Garden City KS 67846



CNH Capital America LLC                 Wesley Smith
100 Brubaker Avenue                     900 Massachusetts St.
New Holland PA 17557                    Lawrence, KS 66044



CNH Industrial Capital                  Western State Bank
PO Box 3600                             PO Box 1198
Lancaster PA 17604                      Garden City KS 67846



Deere & Company
6400 NW 86th St
PO Box 6600
Johnston, IA 501316630


Deere Credit Inc
6400 NW 86th St
PO Box 6600
Johnston, IA 501316630


Farmers Edge
2901 South Loop Dr Suite 335
Ames IA 50010



John Deere Financial
6400 NW 86th St
Johnston, IA 50131



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                                                  DISTRICT OF KANSAS
                                                    WICHITA DIVISION
    IN RE:                                                                         CHAPTER       11
    Knoll's, Inc.



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Robert Knoll                                                      Regular                    10000                      Stock
 1604 Grandview Drive East
 Garden City KS 67846

 Scott Knoll                                                       Regular                    10000                      Stock
 PO Box 310
 Holcomb KS 67851

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                         President                         of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       4/30/2019
Date:__________________________________                            /s/ Robert Knoll
                                                        Signature:________________________________________________________
                                                                   Robert Knoll
                                                                   President




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